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ATTO RN EY-AT- I..AW

january 8, 2019

BV_E£E

l-lon. George B. Daniels

United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

RE: Doar Rieck Kaley & Mack v. Richard Gates
.|__ . .!___l_ _0\1 er _l !_. 9__\ _

 

Dear ]udge Daniels:
l represent plaintiff, and write to report that this action has been settled.

Accompanying this letter is a Stipulation and Order of Voluntary Dismissal, which the
parties request be so ordered.

This obviates the need for the initial pretrial conference scheduled for ]anuary 29,
2019.

Thank you for your attention to this matter.

  

ll

]oel A. Siegel

cc: Steven M. Bierman, Esq. (by email]
Thomas C. Green, Esq. (by emaiI)
Wa|ter Mack, Esq. (by email]

217 BROADWAY SUlTE 707 NEW YORK. NY 10007 T: 212.233.6900 F: 212.962.5037 E-MA|L: 1ASN¥CESQ@AOL.COM
NEw ]EIUEY OFFlCE: 31 STATlocXAvENuE SOMERDALE. N] 08083 T: 856.782.9400
DMlTTED lN PA

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
DOAR RIECK KALEY & MACK,
Case No. 18 CV 9282 (GBD)
Plaintiff,
STIPULATION AND ORDER
-again$f~ T_V_(MM_DM
RICHARD GATES,
Defendant.
x

 

IT IS HEREBY S'I`IPULATED, AGREED, AND CONSEN'I`ED 'I`O, by and between the
undersigned, as follows:

1. The undersigned counsel for defendant Richard Gates (“Gates”) hereby
acknowledges his acceptance of service of process in this action on behalf of and at the direction
and authorization of Gates.

2. The above-captioned action be, and the same hereby is, voluntarily dismissed,
without prejudice, and without costs to either party, as against the defendant pursuant to Federal
Rule of Civil Procedure 41 (a)(l )(A)(ii).

3. This action may be restored on five (5) days’ notice to opposing counsel in the
event of default under the parties’ Settlement Agreement being executed along with this
Stipulation of Dismissal.

Dated: January §, 2019

Q. w SIDLEY AUSTIN LLP .
@/ By: /doLbf/¢'»W /©""/""`~

JOEL

  

 

 

By:
J A. Sic§el / k / Steven M. Biennan
217 Broadway, Suite 707 787 Seventh Avenue
New York, NY 10007 New York, NY 10019
Tel: 212-233-6900 Tel: 212-839-5510
Email: jasnycesq@aol.com Email: sbierman@sidley.com
Counselfor Plaintij' Thomas C. Green

Sidley Austin LLP

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1501 K Street, N.W.
Washington, DC 20005
Tel: 202-736~8069

Email: tcgreen@sidley.com

Counselfor Defendam
SO ORDERED:

 

U.S.D.J.

Date:
New York, NY

